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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


     COLONEL FINANCIAL MANAGEMENT
     OFFICER, et al., on behalf of himself and
     others similarly situated,

           Plaintiffs,

     v.                                             CASE NO. 8:22-cv-1275-SDM-TGW

     LLOYD AUSTIN, Secretary of the
     Department of Defense, et al.,

           Defendants.
     ___________________________________/


                                            ORDER

           The defendants in a “time-sensitive” motion (Doc. 256) request a stay as a re-

     sult of the recently passed National Defense Authorization Act, which the president

     apparently will sign soon; which includes Section 525, titled “Rescission of COVID-

     19 Vaccination Mandate;” and which directs the Secretary of Defense to:

                  rescind the mandate that members of the Armed Forces be vac-
                  cinated against COVID-19 pursuant to the memorandum dated
                  August 24, 2021, regarding “Mandatory Coronavirus Disease
                  2019 Vaccination of Department of Defense Service Mem-
                  bers[.”]

           The motion’s Local Rule 3.01(g) certificate states that the plaintiffs will re-

     spond no later than December 29, 2022, which is a reasonable response time in the

     circumstances (of course, an earlier response is preferred, but December 29 is ac-

     ceptable).
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           Also, the defendants request a resolution of their motion promptly after receipt

     of the plaintiffs’ response. The request is GRANTED. The parties should confer and

     agree to a time on DECEMBER 30, 2022, at which a video-conference hearing on

     the motion can occur.

           ORDERED in Tampa, Florida, on December 22, 2022.




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